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11
                              UNITED STATES DISTRICT COURT
12
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
      UNITED STATES OF AMERICA,                No. CR 19-282-RGK
14
                 Plaintiff,                    GOVERNMENT’S SENTENCING POSITION
15                                             AND OBJECTIONS TO THE PRESENTENCE
                       v.                      INVESTIGATION REPORT; DECLARATION
16                                             OF AUSA ROGER A. HSIEH; EXHIBITS
      ZHONGTIAN LIU,
17       aka “Liu Zhongtian,”
         aka “Chairman,”
18       aka “Uncle Liu,”
         aka “UL,”
19       aka “Big Boss,”
      CHINA ZHONGWANG HOLDINGS
20       LIMITED,
         aka “ZW,”
21       aka “Mother Ship,”
      ZHAOHUA CHEN,
22       aka “Chen Zhaohua,”
         aka “Uncle Chen,”
23    XIANG CHUN SHAO,
         aka “Johnson Shao,”
24    PERFECTUS ALUMINIUM INC.,
         aka “Perfectus Aluminum
25       Inc.,”
      PERFECTUS ALUMINUM
26       ACQUISITIONS, LLC,
      SCUDERIA DEVELOPMENT, LLC,
27    1001 DOUBLEDAY, LLC,
      VON KARMAN – MAIN STREET, LLC,
28       and
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 1    10681 PRODUCTION AVENUE, LLC,

 2               Defendants.

 3

 4

 5         Plaintiff United States of America, by and through its counsel
 6    of record, the United States Attorney for the Central District of
 7    California and Assistant United States Attorneys Roger A. Hsieh and
 8    Gregory D. Bernstein, hereby files its Sentencing Position and
 9    Objections to the Presentence Investigation Report (“PSR”).
10         This Position and Objections are based upon the attached
11    memorandum of points and authorities, the declaration of AUSA Roger
12    A. Hsieh, the trial transcripts filed with the Court, the files and
13    records in this case, and such further evidence and argument as the
14    Court may permit.
15     Dated: February 28, 2022            Respectfully submitted,
16                                         TRACY L. WILKISON
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18                                         Assistant United States Attorney
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20                                               /s/
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21                                         GREGORY D. BERNSTEIN
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                                           Attorneys for Plaintiff
23                                         UNITED STATES OF AMERICA
24

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2    I.   INTRODUCTION

 3         In a wide-ranging and audacious conspiracy, Perfectus

 4    Aluminium, Inc. (“Perfectus”), Perfectus Aluminum Acquisitions, LLC

 5    (“Perfectus Acquisitions”, together with Perfectus the “Perfectus

 6    defendants”), Scuderia Development LLC (“Scuderia”), 1001 Doubleday

 7    LLC (“Doubleday”), Von Karman-Main Street LLC (“Main Street”), and

 8    10681 Production Avenue LLC (“Production Avenue”, together with

 9    Scuderia, Doubleday, and Main Street, the “Warehouse defendants”),

10    defrauded investors in China Zhongwang Holdings, Limited (“CZW”), a

11    company publicly traded on the Hong Kong Stock Exchange, and

12    fraudulently evaded duties owed to the United States government.                To

13    execute this conspiracy, the co-conspirators lied repeatedly and

14    with impunity to investors, government agencies, and courts,

15    destroyed evidence, tampered with witnesses who may have told the

16    truth, moved billions of dollars throughout the globe to ensure the

17    conspiracy’s success, and caused losses of nearly $2 billion.

18         The Perfectus and Warehouse defendants were integral

19    participants in this conspiracy; indeed, they existed only to

20    perpetrate it.    The Perfectus defendants, acting at the direction of

21    Zhongtian Liu (“Liu”), pretended to be genuine purchasers of CZW

22    aluminum products when, in fact, they were purchasing the products

23    at the direction of Liu and CZW and using funds from CZW to “pay”

24    for the goods.    When the United States government imposed anti-

25    dumping and countervailing duties (“AD/CVD duties”) on CZW’s

26    aluminum extrusions in 2011 through AD/CVD orders, the Perfectus

27    defendants began importing aluminum extrusions welded into the form

28    of pallets (“aluminum pallets”) and, between 2011 and 2014, imported
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 1    2.2 million aluminum pallets to criminally evade the AD/CVD duties.

 2    The Warehouse defendants, acting at the direction of Liu, purchased

 3    four warehouses where the Perfectus defendants concealed vast

 4    quantities of aluminum they imported.

 5          For the reasons set forth below, the government respectfully

 6    requests that this Court order that each defendant pay $1.96 billion

 7    in restitution and require upfront and immediate monetary payments

 8    in the amounts set forth below.

 9    II.   PROCEDURAL HISTORY

10          On July 31, 2019, the government unsealed a 24-count indictment,

11    charging a conspiracy to commit wire fraud, evade the payment of $1.8

12    billion in AD/CVD duties, and commit international promotional money

13    laundering.    The government served summonses for an August 26, 2019,

14    initial appearance date on Perfectus and Warehouse defendants.            (See

15    Dkt. 52 at 5-6.)     Prior to this initial appearance date, counsel for
16    the Perfectus defendants acknowledged the summons date, but notified
17    the government that he “was not authorized to enter an appearance or
18    attend the initial appearance.”       (Id.)   Thereafter, the Perfectus and
19    Warehouse defendants disregarded the summonses issued by the Court

20    while actively litigating related civil forfeiture matters before the

21    Honorable Dolly M. Gee.

22          As a result, this Court found the Perfectus and Warehouse

23    defendants in contempt and issued a total judgment of approximately

24    $5.8 million against them.      (Dkts. 59, 64, 74-80, 151-52.)        In April

25    2021, after Judge Gee granted the government’s request to strike

26    defendants’ civil forfeiture claims based on their refusal to appear

27    in the criminal case, the Perfectus and Warehouse defendants finally

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 1    appeared nearly eight months after their court-ordered initial

 2    appearance date.      (Dkts. 127-32, 149 at 2-3.)

 3            On June 14, 2021, the Perfectus and Warehouse defendants filed a

 4    motion to dismiss the indictment.       (Dkt. 186.)     The Court denied

 5    defendants’ motion.      (Dkt. 212.)   In August 2021, the Perfectus and

 6    Warehouse defendants proceeded to a nine-day trial, and the jury

 7    found defendants guilty on all counts.        (Dkt. 273.)    The Court denied

 8    defendants’ motion for a new trial and motion for acquittal.            (Dkt.

 9    320.)

10    III. STATEMENT OF FACTS

11            As Chairman and majority shareholder of CZW, the largest

12    aluminum extrusion company in Asia, (PSR ¶ 241), Liu did everything

13    he could to make CZW appear more profitable than it was.           It began
14    with the preparation for the company’s IPO in 2008.          (PSR ¶ 26.)        To
15    make it appear as though CZW had attracted substantial foreign
16    investment, Liu and Chen caused $200 million to be wired to an entity
17    called Scuderia Capital Partners (“SCP”) in the US, which was led by
18    Eric Shen (“Shen”), the CEO of all four Warehouse defendants until
19    2013.       (PSR ¶¶ 38, 44.)   Days after receiving the $200 million, SCP

20    returned that money to CZW in the form of a bogus loan that CZW never

21    fully repaid.      (PSR ¶ 44.)   Then, in CZW’s prospectus, Liu and CZW

22    misrepresented this loan as real and omitted that the money SCP lent

23    CZW originated with Liu and that Liu controlled the lender. (PSR

24    ¶ 44.)

25            After CZW’s stock began trading in May 2009, CZW began

26    fraudulently selling an enormous number of aluminum extrusions and,

27

28           All references to the PSR in the Statement of Facts are to the
              1
      Perfectus Aluminum PSR.
                                         3
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 1    after the 2011 AD/CVD orders, aluminum pallets, to the Perfectus

 2    defendants, entities that Liu controlled.2         (PSR ¶ 45.)    Following

 3    Liu’s orders, CZW directed the Perfectus defendants and specifically

 4    their nominee CEO, Johnson Shao (“Shao”), to “purchase” aluminum from

 5    CZW and sent Perfectus the funds it needed to “pay” for this aluminum

 6    through Hong Kong shell companies.        (PSR ¶ 45.)

 7         The resulting growth of aluminum “sales” to the US that CZW

 8    falsely reported to investors was remarkable.         (PSR ¶ 46.)     In its

 9    annual reports, CZW told investors that aluminum extrusion sales in

10    the US accounted for a large portion of the company’s overall revenue

11    in 2009 and 2010, up from a smaller percentage in 2008.           (PSR ¶ 46.)

12    Liu and CZW falsely reported that this revenue was the result of true

13    arms-length transactions.      (PSR ¶ 46.)

14         In 2011, defendants’ fraudulent plan to drive up CZW’s revenue

15    numbers through bogus sales to Perfectus hit an obstacle.           That year,

16    the US Department of Commerce imposed AD/CVD duties of up to 400% on

17    CZW’s aluminum extrusions.      (PSR ¶ 47.)    So, the defendants looked

18    for a way to criminally evade the AD/CVD duties and began to falsely

19    rely on the “finished merchandise” exception, which exempted from the

20    AD/CVD orders finished products that in part contained aluminum

21    extrusions, like glass windows.       (PSR ¶ 47.)    Specifically, CZW began

22    tack-welding its extrusions into aluminum pallets and smuggled the

23    extrusions to Perfectus, which then submitted false Forms 7501 to CBP

24

25
           2 In December 2014, Peng Cheng Aluminum, Century American
26    Aluminum Inc., Global Aluminum Inc., American Apex Aluminum Inc.,
      Aluminum Source Inc., Transport Aluminum Inc., and Aluminum
27    Industrial Inc. merged into Perfectus. (PSR ¶ 29.) At that time,
      Perfectus inherited the liabilities of these merging companies. (PSR
28    ¶ 33.) Unless otherwise stated, the government refers to the
      foregoing companies as “the Perfectus defendants” or “Perfectus”.
                                         4
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 1    in which the aluminum pallets were falsely declared as not subject to

 2    the AD/CVD duties.     (PSR ¶ 47.)    In actuality, defendants knew that

 3    the pallets were not finished products, that there was no

 4    market/customers for the pallets, and that they intended to melt the

 5    pallets down.    (PSR ¶ 47.)

 6          Between 2011 and 2014, Perfectus imported 2.2 million aluminum

 7    pallets from CZW.     (PSR ¶ 48.)    In that same period, Liu and CZW

 8    falsely reported on the importance of the company’s pallet sales,

 9    highlighting that CZW’s pallet exports “grew significantly” and that

10    the company had “intensified efforts in developing overseas markets”

11    that led to an “increasing demand for these products in the US.”

12    (PSR ¶ 49.)     Without sales of its own and with no ability to sell

13    CZW’s aluminum, Perfectus needed money to keep the fraud schemes

14    going, so CZW, Liu, and others laundered hundreds of millions of

15    dollars through Hong Kong shell companies to Perfectus.           (PSR ¶ 50.)

16          When allegations about CZW’s fraud schemes began to surface in

17    the summer of 2015, Liu ordered the aluminum pallets in the

18    warehouses and Aluminum Shapes, another factory Liu controlled in New

19    Jersey, to be exported to a company in Vietnam called Global Vietnam

20    Aluminum, yet another factory that Liu owned and hid from investors.

21    (PSR ¶ 51.)    In January 2017, the government formally seized the

22    remaining aluminum pallets that totaled 279,808.          (PSR ¶¶ 52, 86.)

23    IV.   THE COURT SHOULD ORDER $1.96 BILLION IN RESTITUTION

24          Since the defendants at issue are corporate entities, the

25    ultimate question is the appropriate monetary sanction for their

26    egregious conduct.     In this case, the actual losses totaled nearly $2

27    billion.   As such, the government requests that the Court issue a

28    restitution order as to each defendant in the full amount.

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 1          Restitution is mandatory pursuant to the Mandatory Victims

 2    Recovery Act (“MVRA”).      18 U.S.C. § 3663A.     The goal of the MVRA “is

 3    to make the victim[s] whole.”       United States v. Anderson, 741 F.3d

 4    938, 951 (9th Cir. 2013).       This Court need only reasonably estimate a

 5    restitution amount, it need not be calculated with precision.             United

 6    States v. Baker, 584 Fed. Appx. 469, 471 (9th Cir. 2014)

 7    (“‘Speculation and rough justice are not permitted’ when calculating

 8    restitution under the MVRA, but ‘exact precision is not required and

 9    district courts have a degree of flexibility in accounting for the

10    victim’s complete losses; thus, a reasonable estimate will

11    suffice.’”) (quoting Anderson, 741 F.3d at 954).          Further, the

12    restitution amount need only be supported by a preponderance of the
13    evidence.    18 U.S.C. § 3664(e).      In a case involving multiple
14    participants, such as here, the Court may order each defendant liable
15    for the full amount of restitution.        18 U.S.C. § 3664(h).
16          Here, the actual losses are $1,960,514,745.3         (PSR ¶¶ 54-56.)
17    Accordingly, the government respectfully requests that the Court
18    order that each of the Perfectus and Warehouse defendants pay
19    restitution in the amount of $1,960,514,745 with $124,270,000 due to

20    the individual victims and amounts listed on the PSR and

21    $1,836,244,745 due to CBP.       As shown at trial and noted in the PSR,

22    the Warehouse defendants maintain significant assets, namely four

23    warehouses within this district.        Each Warehouse defendant should be

24    ordered make a payment within 90 days in the amounts set forth in the

25

26
            3The Presentence Investigation Reports (“PSRs”) released by the
27    United States Probation Office set forth the itemized list of victims
      and the amounts each is owed. The government requests the Court
28    incorporate this list into the Judgment and Commitment Order in this
      case.
                                         6
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 1    PSR, namely, $36,521,176.74 for 1001 Doubleday, $56,239,560.35 for

 2    10681 Production Avenue, $44,934,998.30 for Scuderia Development, and

 3    $23,518,695.52 for Von Karman Main Street.         (PSR ¶ 81 (1001

 4    Doubleday), PSR ¶ 80 (10681 Production Avenue), PSR ¶ 81 (Scuderia),

 5    PSR ¶ 80 (Von Karman).)      The amount of immediate payment for the

 6    Warehouse defendants is dependent on the value of the warehouse owned

 7    by that particular defendant.       The PSR used the tax assessed value in

 8    choosing the immediate payment figure.         The government understands,

 9    however, that the warehouses are worth much more than the tax

10    assessed value, upwards of $800-$900 million collectively.            The Court

11    should also order that any proceeds from the sale of the warehouses

12    in excess of the tax assessed values be applied to the restitution

13    order.    See 18 U.S.C. § 3664 (f)(2)(A) (the Court shall specify the

14    manner in which restitution is to be paid in consideration of “the
15    financial resources and other assets of the defendant”).            As set
16    forth in greater detail below, the government also submits that the
17    Perfectus defendants have the financial ability to pay $1.5 billion
18    towards restitution.      Thus, in considering defendants’ assets and
19    financial condition, the government requests that the Court order for

20    each defendant that restitution is due and payable immediately.4

21          Since the Warehouse and Perfectus defendants operated primarily

22    for a criminal purpose and primarily by criminal means (PSR ¶ 94

23    (Perfectus Acquisitions); PSR ¶ 93 (Perfectus); PSR ¶ 86 (1001

24    Doubleday); PSR ¶ 85 (10681 Production Avenue); PSR ¶ 86 (Scuderia

25    Development); PSR ¶ 85 (Von Karman Main Street)), the Sentencing

26

27          4By including the language that restitution is due and payable
      immediately, any proceeds in excess of the immediate payment figure
28    would automatically be applied to restitution unless and until the
      full restitution amount is satisfied.
                                         7
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 1    Guidelines require that the Court set the fine “at an amount (subject

 2    to the statutory maximum) sufficient to divest the organization of

 3    all its net assets.”      USSG § 8C1.1.     In the event the Court does not

 4    order full restitution of $1.96 billion as to each defendant, the

 5    government requests that, consistent with the Sentencing Guidelines,

 6    the Court impose a fine sufficient to divest each defendant of all

 7    assets.    Here, the statutory maximum fine is twice the gross loss

 8    caused by the co-conspirators, which in this case is $3.92 billion.

 9    V.    THE PERFECTUS DEFENDANTS HAVE $1.5 BILLION MORE IN ASSETS THAN

10          THEY HAVE REPORTED

11          The Court’s determination about the financial condition of the

12    Perfectus defendants is an integral step in the sentencing phase.                In

13    particular, it determines what immediate payment the defendants can

14    make towards restitution.       The PSR correctly determined that the

15    Perfectus defendants owe restitution in the total amount of

16    $1,960,514,745.     (PSR ¶ 109 (Perfectus PSR); PSR ¶ 110 (Perfectus

17    Acquisitions PSR).)      Based on a representation by the Perfectus

18    defendants, the PSR determined that the Perfectus defendants’ sole

19    asset was the 279,808 pallets currently in the possession of the

20    government.    (PSR ¶ 87 (Perfectus PSR); PSR ¶ 88 (Perfectus

21    Acquisitions PSR).)      Thus, the PSR concluded that the pallets should

22    be liquidated and the value of them paid towards restitution.

23    However, the pallets are subject to criminal forfeiture and, thus,

24    will not be available for restitution at this time.           Further, the

25    government respectfully disagrees and objects to the PSR’s conclusion

26    that the sole asset of the Perfectus defendants are these remaining

27    pallets.    Specifically, the government submits that the Perfectus

28    defendants have $1.5 billion more in assets than they have declared.

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 1          A.    The Perfectus Defendants Have $1.5 Billion in Inventory

 2          As set forth in the PSR, as of 2015, the Perfectus defendants

 3    reported having in excess of $1.5 billion in inventory, namely, the

 4    aluminum it had fraudulently imported from China.           (PSR ¶ 83

 5    (Perfectus), PSR ¶ 84 (Perfectus Acquisitions); Ex. 401 to

 6    Declaration of Roger A. Hsieh (“Hsieh Decl.”) (showing over $1.5

 7    billion in aluminum inventory).)        As the evidence showed at trial,

 8    after allegations of wrongdoing began to surface and in order to

 9    conceal their scheme, the Perfectus defendants began exporting their

10    aluminum inventory in July 2015 and again in 2016.           (E.g., Vol. 1,

11    8/10/2021 Trial Tr. at 198; Vol. 6, 8/17/2021 Trial Tr. at 204-05;
12    Vol. 7, 8/18/2021 Trial Tr. at 204-09, 220-22.)          The pallets
13    currently in the government’s possession are what remain of the 2.2
14    million pallets the Perfectus defendants imported during the course
15    of the conspiracy.     (PSR ¶ 48 (Perfectus Acquisitions and
16    Perfectus).)    Whether the Perfectus defendants sold the aluminum
17    (and, thus, are sitting on the proceeds of that sale) or simply
18    transferred it out of the country, the value of those assets – which
19    the Perfectus defendants themselves valued at $1.5 billion (Ex. 401

20    to Hsieh Decl.) — are assets of the Perfectus defendants and thus,

21    must be considered when assessing their financial condition.

22          B.    The Perfectus Defendants’ Liabilities Should Be Disregarded

23          To the extent the Perfectus defendants contend that their

24    liabilities outweigh any such assets, the Court should reject this

25    argument and disregard the liabilities as fraudulent.

26          In 2015, the Perfectus defendants claimed to have over $1.7

27    billion in liabilities.      (PSR ¶ 84 (Perfectus PSR); PSR ¶ 85

28    (Perfectus Acquisitions PSR).)       These liabilities are split in two

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 1    categories:    approximately $1.28 billion in “loans” and $497 million

 2    in accounts payable.      (Id.)   As the evidence at trial proved, the

 3    “loans” accounted for on the Perfectus defendants’ books were

 4    incoming funds from CZW for the purpose of paying for the aluminum

 5    pallets that the Perfectus defendants were buying from CZW.            Shao,

 6    the CEO of the Perfectus defendants, told Mark Li (“Li”), the then-

 7    accounting manager and later the CEO, to classify all incoming wires

 8    from Hong Kong as loans.      (Vol. 3, 8/12/2021 Trial Tr. At 30-32.)            Li

 9    testified that as of July 2015, there were $1.28 billion in incoming

10    wires from Hong Kong that were classified as loans.           (Id. at 82-83;

11    Ex. 401 to Hsieh Decl.)      Li testified that he never saw any loan
12    documents supporting these loans and never saw any payments being
13    made on these loans.      (Id. at 30-32.)     Further, the Perfectus
14    defendants accrued no loan interest expenses on these loans.            (See
15    Ex. 406 to Hsieh Decl.)      In short, the Perfectus defendants did not
16    treat them as real loans.       Further, the testimony at trial showed
17    that CZW (the seller of the aluminum pallets) was funding the
18    purchase of its own aluminum by transferring huge sums of money
19    through Hong Kong shell companies to the Perfectus defendants.

20    (E.g., Exs. 10, 12, 328, 340, 349A, 371, and 384 (Dkt. 305); Vol. 7,

21    8/18/2021 Trial Tr. at 69-130; see also Dkt. 320, Court Order denying

22    Rule 29 motion, at 7 (“Regarding the Perfectus defendants, the

23    Government produced evidence that CZW directed their CEO, Johnson

24    Shao, to purchase aluminum from CZW and sent the Perfectus defendants

25    the money to fund the phony purchases.”)         Indeed, these incoming wire

26    transfers were the basis for the money laundering convictions of the

27    Perfectus defendants.      The evidence is clear that the Perfectus

28    defendants never treated these wire transfers as loans that they

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 1    intended to repay, because they were not.         Rather, these funds were

 2    designed to keep maintain a criminal conspiracy.5          As such, these

 3    purported loans should be disregarded when assessing the Perfectus

 4    defendants’ ability to pay.6

 5          The $497 million in accounts payable should similarly be

 6    disregarded.    As set forth above and as established at trial, the

 7    Perfectus defendants received products from CZW and paid CZW for

 8    those products with money CZW provided to the Perfectus defendants.

 9    Indeed, CZW was the only source of goods for the Perfectus

10    defendants.    (Vol. 2, 8/11/2021 Trial Tr. at 83, 240-41; Vol. 3,
11    8/12/2021 Trial Tr. at 120-22.)        Since the Perfectus defendants did
12    not have aluminum suppliers other than CZW, then it is fair to
13    conclude that all or nearly all of this accounts payable figure was
14    owed to CZW.    Indeed, an internal operations report for the Perfectus
15    defendants from July 2015 shows that approximately 99.8% of the
16    accounts payable balance was “Payable to China.”          (Ex. 401 to Hsieh
17    Decl.)   Since CZW was a co-conspirator and was funding the Perfectus
18    defendants in order to keep the scheme going, it is clear that the
19    accounts payable balance was fictitious in much the way the loan

20    balance was.    Because the loan balance and accounts payable balance

21

22
           5 As the evidence showed at trial, Liu, the mastermind of this
23    scheme, used a fraudulent loan on another occasion to further the
      scheme, specifically a bogus $200 million loan in advance of CZW’s
24    IPO from Scuderia Capital Partners and co-conspirator Eric Shen.
      (PSR ¶¶ 38, 44.) In the case of this loan and other similar actions
25    with Shen, Liu also regularly used Hong Kong shell companies to
      transfer money to Shen, including to purchase the four warehouses.
26    (Exs. 28-30, 37 (Dkt. 305); Vol. 4, 8/13/2021 Trial Tr. at 98-102,
      130-44.)
27
           6 Indeed, these funds should have been accounted for on the
28    books of the Perfectus defendants as income. Recording them as loans
      was designed to further and conceal the ongoing conspiracy.
                                        11
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 1    were fraudulent, the $1.7 billion in liabilities claimed by the

 2    Perfectus defendants should be disregarded.

 3          Accordingly, there are no liabilities to offset the $1.5 billion

 4    in assets belonging to the Perfectus defendants.          As such, the

 5    government respectfully requests that the Court order the Perfectus

 6    defendants make an immediate payment of $1.5 billion towards

 7    restitution.

 8    VI.   CONCLUSION

 9          For the foregoing reasons, the government respectfully requests

10    that the Court sentence the defendants as follows:

11                Perfectus Aluminium, Inc., Perfectus Aluminum Acquisitions,
12                 LLC, Scuderia Development LLC, 1001 Doubleday LLC, Von

13                 Karman-Main Street LLC, and 10681 Production Avenue LLC are

14                 ordered to pay $1,960,514,745 in restitution with

15                 $124,270,000 due to the individual victims in the amounts

16                 listed on the PSR and $1,836,244,745 due to CBP;

17                Restitution is due in full and payable immediately;
18                1001 Doubleday, LLC is ordered to make a payment of at
19                 least $36,521,176.74 within 90 days of sentencing;

20                10681 Production Avenue, LLC is ordered to make a payment
21                 of at least $56,239,560.35 within 90 days of sentencing;

22                Scuderia Development, LLC is ordered to make a payment of
23                 at least $44,934,998.30 within 90 days of sentencing;

24                Von Karman Main Street, LLC is ordered to make a payment of
25                 at least $23,518,695.52 within 90 days of sentencing; and

26                Perfectus Aluminum Acquisitions LLC is ordered to make a
27                 payment of at least $1,500,000,000 within 90 days of

28                 sentencing.

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 1                After this immediate payment, all defendants shall make
 2                 monthly payments of 10% of their gross revenue, but no less

 3                 than $100.

 4                Restitution shall first be paid to the investors in China
 5                 Zhongwang Holdings, Limited, and then to Customs and Border

 6                 Protection.

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 1                            DECLARATION OF ROGER A. HSIEH

 2          I, Roger A. Hsieh, declare as follows:

 3          1.    I am an Assistant United States Attorney in the United

 4    States Attorney’s Office for the Central District of California.             I

 5    represent the government in United States v. Zhongtian Liu, et al.,

 6    CR 19-282-RGK.

 7          2.    Attached hereto are what I understand to be true and

 8    correct copies of Exhibits 401 and 406 -- with certain personal

 9    identifying information redacted -- from the August 2021 trial in

10    United States v. Zhongtian Liu, et al., CR 19-282-RGK.

11          I declare under penalty of perjury under the laws of the United
12    States of America that the foregoing is true and correct and that
13    this declaration is executed at Los Angeles, California, on February
14    28, 2022.
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16                                              ROGER A. HSIEH
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